 ~S44          (Rev.12SD•
 The JS 44 civil
                                          Case 2:16-cv-01737-SD Document 1-5 Filed 04/11/16
                                                            CIVILCOVERSHEET         .       Page 1 of 3                                                               \lo-~-             \'131
                               d the information contained herein neither re lace nor su plementthe filing and service of pleadings or other apers as re uiretl by law, except as provide•
 by local rules of c    .  1s form, approved by the Judicial Conference o?the United                 ~tates
                                                                                             in September 1974, is required for the use of the Clerk of Court for the purpose of mitiatini
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a)         PLAINTIFFS                                                                                         DEFENDANTS

     fr,.,.,,~.             t. S(,tl;+~11:.                                                                                                                              16                   1737
       (b)      County of Residence of First Listed Plaintiff I''"'---'-.;..;.+...__ __,._ _                       County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINT                                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                           NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                                  LAND INVOLVED.

                                                                                                                    Attorneys (If Known)




 II.    BASIS OF JURISDICTION                           (Placean"X"inOneBoxOnty)                    III.    CITIZENSHIP OF PRINCIPAL PARTIES(Place an "X" in One Box for Plaintift
                                                                                                                (For Diversity Cases Only)                            and One Box for Defendant)
0 1        U.S. Govemment
              Plaintiff               \!:I
                                      /'l:\Federal Question
                                               (U.S. Govemment Nol a Party)                                Citizen of This State
                                                                                                                                         PTF
                                                                                                                                         0 I
                                                                                                                                             DEF
                                                                                                                                             0 I Incorporated or Principal Place
                                                                                                                                                 of Business In This Stale
                                                                                                                                                                                     PTF
                                                                                                                                                                                      0 4
                                                                                                                                                                                              DEF
                                                                                                                                                                                              0 4


02         U.S. Govemment                  04    Diversity                                                 Citizen of Another State        0 2          0     2   Incorporated and Principal Place      0   5    0 5
              Defendant                                                                                                                                              of Business In Another State
                                                   (Indicate Citizenship of Parties in Item Ill)
                                                                                                           Citizen or Subject of a         0 3          0     3   Foreign Nation                        0   6   0 6
                                                                                                             Forei n Count
IV.       NATURE OF SUIT                   Placean"X"inOneBoxOnt
                                                                                                                                            .. '-' . !!It
0    110 Insurance                        PERSONAL INJURY                PERSONAL INJURY       0 610 Agriculture                               0 422 Appeal 28 USC 158               0   400 State Reapportionment
0    120 Marine                       0    310 Airplane               0 362 Personal Injury -  0 620 Other Food & Drug                         0 423 Withdrawal                      0   410 Antitrust
0    130 Miller Act                   0    315 Airplane Product              Med. Malpractice  0 625 Drug Related Seizure                                   28 USC 157               0   430 Banks and Banking
0    140 Negotiable Instrument                 Liability              0 365 Personal Injury -        of Property 21USC881                                                            0   450 Commerce
0    150 Recovery of Overpayment      0    320 Assault, Libel &              Product Liability 0 630 Liquor Laws                                                                     0   460 Deportation
         & Enforcement ofJudgment              Slander                0 368 Asbestos Personal  0 640 R.R. & Truck                              0 820 Copyrights                      0   470 Racketeer Influenced and
0    151 Medicare Act                 0    330 Federal Employers'            Injury Product    0 650 Airline Regs.                             0 830Patent                                    Corrupt Organizations
0    152 Recovery of Defaulted                 Liability                     Liability         0 660 Occupational                              0 840 Trademark                       0   480 Consumer Credit
         Student Loans                0    340 Marine                  PERSONAL PROPERTY              Safety/Health                                                                  0   490 Cable/Sat TV
         (Exel. Veterans)             0    345 Marine Product         0 370 Other Fraud        0 6900ther                                                                            0   810 Selective Service
0    153 Recovery of Overpayment               Liability              0 371 Truth in Lending                                                                      s                  0   850 Securities/Commodities/
         of Veteran's Benefits        0    350 Motor Vehicle          0 380 Other Personal     0 710 Fair Labor Standards                     0 861 HIA (1395ft)                             Exchange
0    160 Stockholders' Suits          0    355 Motor Vehicle                Property Damage          Act                                      0 862 Black Lung (923)                 0   875 Customer Challenge
0    190 Other Contract                        Product Liability      0 385 Property Damage    0 720 Labor/Mgmt. Relations                    0 863 DIWC/DIWW (405(g))                        12 USC 3410
0    195 Contract Product Liability   0    360 Other Personal               Product Liability     30 Labor/Mgmt.Reporting                     0 864 SSID Title XVI                   0   890 Other Statutory Actions
0    196 Franchise                             ln'u                                                 & Disclosure Act                          0 865 RSI (405(                        0   891 Agriculntral Acts
?Jilf!liti#Jtmb\l;f! •.   RilW,i;                                                                    Railway Labor Act                                                               0   892 Economic Stabilization Act
0 210 Land Condemnation               0    441 Voting                 0 510 Motions to Vacate      0 Other Labor Litigation                   0 870 Taxes (U.S. Plaintiff            0   893 Environmental Matters
0 220 Foreclosure                     0    442 Employment                   Sentence              91 Empt. Rel. Inc.                                or Defendant)                    0   894 Energy Allocation Act
0 230 Rent Lease & Ejectment          0    443 Housing/                  Habeas Corpus:              Security Act                             0 871 IRS-Third Party                  0   895 Freedom of Information
0 240 Torts to Land                           Accommodations          0 530General                                                                  26 USC 7609                              Act
0 245 Tort Product Liability          0    444 Welfare                0 535 Death Penalty                                                                                            0   900Appeal of Fee Determinatio-
0 290 All Other Real Property         0    445 Amer. w/Disabilities - 0 540 Mandamus & Other 0 462 Naturalization Application                                                                Under Equal Access
                                              Employment              0 550 Civil Rights       0 463 Habeas Corpus -                                                                         to Justice
                                      0    446 Amer. w/Disabilities - 0 555 Prison Condition        Alien Detainee                                                                   0   950 Constitutionality of
                                              Other                                            0 465 Other Immigration                                                                       State Statutes
                                      0    440 Other Civil Rights                                   Actions



V. ORIGIN                      (Placean"X"inOneBoxOnly)                                                                                                                                              Appeal to District
0 I Original               0 2     Removed from      0            3   Remanded from                O 4   Reinstated or      O 5 Transferr~d from                  O 6    Multidistrict    O 7        Judge from
          Proceeding               State Court                        Appellate Court                    Reopened                     another district                   Litigation                  Magistrate
                                                                                                                                       s eci                                                         Jud ment




VII.       REQUESTED IN                     0     CHECK F THIS IS A CLASS ACTION                             DEMAND$                                          CHECK YES only if d
         COMPLAINT:                               UNDER F.R.C.P. 23                                                                                           JURY DEMAND:
VIII.        RELATED CASE(S)
                                                (See instn1ctions):
             IF   ANY                                                  JUDGE                                                                       DOCKET NUMBER


                                                                                                                                                                                    APl \ t             2016
    RECEIPT#                        AMOUNT                                    APPL YING IFP                                      JUDGE                                   MAG.JUDGE
 FOR THE EAS             SD                        UNITED STATES DISTRICT COURT
                                  Case 2:16-cv-01737-SD Document 1-5 Filed 04/11/16 Page 2 of 3
                            RICT OF PENNSYLVANIA-DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
 assignment to appropriate calendar.

 Address of Plaintiff:             13 t \tJ. Gr1Wtrs L..ri, e"': 1•. , PA \ 't Hi                                                             16                 173 7
 Address ofDcfendant:_ _           '1_:_:::::1.:..::..0-=1--~=~--=-..1..:m~,,.--=-·cr>LS=-=.+~.4-J_e....:.:~:..::...\:._4::..:•_,µl'LA=--=---=-'~4--=-'-1_1_-_l,_'l_8________
 P~u~AuW~~fuci&mmTu~~~oo: _ _ _~,-~_.l_~-•+~/_A________~--~-----------------~
                                                                              (Use Reverse Side For Additional Space)

 Docs this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning I 0% o,.-~.,,...,
      (Attach two copies of the Disclosure Statement Form in accordance with Fcd.R.Civ.P. 7. I (a))                                        YesD


 Does this case involve multidistrict litigation possibilities?                                                                            YesD
 RELATED CASE, IF ANY:

 Case N u m b e r : - - - - - - - - - - - J u d g e - - - - - - - - - - - - - Date T e r m i n a t e d : - - - - - - - - - - - - - - - - -

 Civil cases arc deemed related when yes is answered to any of the following questions:

 I. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court/
                                                                                                                            YesD Nollil"'
 2. Docs this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously te~ated
      action in this court?                                                                                                                YesD      Noli!!"""

 3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year pr_#sly
      terminated action in this court?                                                                                                     YesD      No~
4. Is this case a second or successive habeas corpus, social security appeal, or pro sc civil rights case filed by the same individual?                          ~
                                                                                                                                           YcsD      No~

CIVIL: (Place       t/
                  in ONE CATEGORY ONLY)
A. Federal Question Cases:                                                                                     B. Diversity Jurisdiction Cases:
 I.     0     Indemnity Contract, Marine Contrac~ and All Other Contracts                                      I.   0    Insurance Contract and Other Contracts
 2.    0     FELA                                                                                              2.   0    Airplane Personal Injury
 3.    0     Jones Act-Personal Injury                                                                         3.   0    Assault, Defamation
 4.    D     Antitrust                                                                                         4.   0    Marine Personal Injury


 ~:::.Management
                                                                                                               5. 0      Motor Vehicle Personal Injury
                                  Relations                                                                    6. 0      Other Personal Injury (Please specify)
 ~;vii             Rights                                                                                      7.   0    Products Liability
 8.    0     Habeas Corpus                                                                                     8.   0    Products Liability -     Asbestos
 9. D Securities Act(s) Cases                                                                                  9.   0   All other Diversity Cases
10.    0     Social Security Review Cases                                                                               (Please specify)
11.    0      All other Federal Question Cases
            (Please specify)
                                                                  ARBITRATION CERTIFICATION
     (VI f< 4 ,, >•~ _____________
!,_ _ _ _ _ _ _ _
                      $ c;, Lt..fftt,             (Check appropriate Category)
                                      ,,counsel ofrecord do hereby certify:

                   uant to Local Civil Ruic 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
cxce                of $150,000.00 exclusive of interest and costs;
                    f other than monetary damages is sought.

DAT               3/ll./10/6                                ~                  f,.                                                         S'f 21 (
                    r         r                               Attorney-at-Law                                                                   Attorney l.D.#
                              NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. ~PR                                          11     20~$
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except as noted abov/
DATE:          3b'-         llJ/I'
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                                                                              4
                                                                                                              S'l
                                                                                                                    ,.11 I
                                                              Attorney-at-Law                                                                 Attorney l.D.#
CIV.        609    (6/08)
                Case 2:16-cv-01737-SD Document 1-5 Filed 04/11/16 Page 3 of 3




    so
                                                                                              APPENDIX I
                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                         CASE MANAGEMENT TRACK DESIGNATION FORM
f.tJW,;S     r. S~k·-fAIC;D                                                      CIVIL ACTION

                            v.                                                          16            1737
                                                                                 NO.

     In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
     plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of
     filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
     side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
     designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
     the plaintiff and all other parties, a case management track designation form specifying the track to
     which that defendant believes the case should be assigned.

     SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

     (a) Habeas Corpus -Cases brought under 28 U.S.C. §2241 through §2255.                                ( )

     (b) Social Security - Cases requesting review of a decision of the Secretary of Health
         and Human Services denying plaintiff Social Security Benefits                                    ( )

     (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

     (d) Asbestos - Cases involving claims for personal injury or property damage from
        exposure to asbestos.                                                                             ( )

    (e) Special Management- Cases that do not fall into tracks (a) through (d) that are
       commonly referred to as complex and that need special or intense management by
        the court. (See reverse side of this form for a detailed explanation of special
        management cases.)                                                                                (~


    (f) Standard Management - Cases that do not fall into any one of the other tracks.                    ~




    Date
        3/J.i/.iot6                  l/,uJ f.SJ.,/h
                                       Attorney-at-law
                                                                       J!k!.£-
                                                                            Attorney for    />(41,.,t:f.P
     ( 6if>) CfIS"· 835 L                                            PtJMksu1,,.ff,,e A"""':l c. ~    #


    Telephone                           FAX Number                          E-Mail Addr~



    (Civ. 660) 10/02


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